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UN|TED STATES OF A|VlEFt|CA,

Plaintift,
VS.
CFt. NO. 04~20407-B
T.A. GRAVES.
Defendant.

 

ORDER ON CONT|NUANCE AND SPEClFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on tor a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance ot the August 1, 2005 trial date due to the defendants
absence.

The Court granted the request and reset the trial date to Septernber 6, 2005 with a

re ort date of N|onda Au ust 29 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor of the

 

Federa| Bui|ding, lVlemphis, TN.
The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need fosr°a spe:dy trial.
lT lS SO OFiDEFtED this l day o ,2005.

 

 

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With Rule 55 and/or 32

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20407 Was distributed by faX, mail, or direct printing on

August 2, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

